Case 1:18-cr-20092-CMA Document 16 Entered on FLSD Docket 03/28/2018 Page 1 of 2




                             U NITED STATES D ISTRICT C OU RT
                             SOU TIIERN D ISTW CT OF FLO RIDA

                                 C ase No.18-CR -20092-A Itonaga

   U NITED STATES O F AM ERICA



   D AN II,O ALFO NSO LOPEZ-CASTILL O,

                        D efendant.
                                           /


                 STIPULATED FACTUAL PROFFER IN SUPPORT OF PLEA

          lf this m atter were to proceed to trial,the Governm entwould prove the follow ing facts

   beyond a reasonable doubt. The Parties agree that these facts,which do not include allfacts

   known to the Governm entand the D efendant,D AM LO A LFON SO L OPEZ-CASTILLO ,are

   sufficientto prove the guiltoftheD efendantofthe above-referenced lndictm ent:

          Co-conspiratortestim ony and corroborating evidencewould show that,in 2014,a group of

   individuals conspired together with the Defendant to send cocaine from Colom bia to Central

   A m erica,w ith theknowledge andunderstanding thatatleastaportion ofthiscocaine- specifically

   atleast five kilogram s- w ould be imported into the U nited States. The Defendantand his co-

   conspiratorsm etin Guatem ala in 2014 and discussed retrieving cocaine in Colom bia,transporting

   the load by boatto Costa Rica and thereaftertransporting itoverland to Guatem ala. The
-w
 x..   Case
       .
            1:18-cr-20092-CMA Document 16 Entered on FLSD Docket 03/28/2018 Page 2 of 2
Z      '
       y.
        q
        .


            D efendantand hisco-conspiratorsknew thatthisshipm entw ould contain atleast50 kilogram s of

            cocaine.



                                                     BENJAM IN G.GREEN BERG
                                                     UN ITED STA TES A TTORN EY

            Date: 7 -zy -& &                     By:
                                                  W ,WALTER M.NORKIN
                                                     ASSISTANT UNITED SIWTESATTORNEY

            Ilate:3/.*1m ts                       By:
                                                     T          DER,XSQ..
                                                     A TORN EY FOR D EFEN DAN T


            oate:312.1 (&&t1                      By:A      ALFON SO LOPEZ-CA STILLO
                                                     DEFEN DAN T
